Case 2:08-cr-20289-GCS-DAS ECF No. 219, PageID.2229 Filed 06/20/11 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                                                    Case No. 08-20289
                                                    HON. GEORGE CARAM STEEH

vs.



D-5 CESAR GARFIO,



__________________________________/

            ORDER DENYING MOTION FOR REDUCTION OF SENTENCE

       Before the court is defendant’s motion for reduction of sentence pursuant to 18

U.S.C. § 3582(c)(2). On November 19, 2008, defendant pleaded guilty to count one of the

indictment, specifically conspiracy to distribute, and to possess with the intent to distribute,

more than 5 kilograms of cocaine in violation of 21 U.S.C. § §846, 841(a)(1). On March 9,

2009, the court sentenced defendant to forty-six (46) months imprisonment.

       Presently before this court is defendant’s pro se motion for modification of sentence

under 18 U.S.C. § 3582(c)(2), which states:

       (c) Modification of an imposed term of imprisonment.– the court may
       not modify a term of imprisonment once it has been imposed except
       that–
              *                          *                           *
       (2) in the case of defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o), upon
       motion of the defendant or the Director of the Bureau of Prisons, or on its
       own motion, the court may reduce the term of imprisonment, after
       considering section 3553(a) to the extent that they are applicable, if such a

                                              -1-
Case 2:08-cr-20289-GCS-DAS ECF No. 219, PageID.2230 Filed 06/20/11 Page 2 of 2



       reduction is consistent with applicable policy statements issued by the
       Sentencing Commission.

18 U.S.C. § 3582(c)(2).

       Defendant fails to identify the applicable amendments to the sentencing guidelines

which warrant the reduction of his sentence. Presumably, defendant relies on Amendment

706, which amended the base offense level for quantities of cocaine base. However,

defendant’s conviction on count one of the indictment was for violating 21 U.S.C. § §846,

841(a)(1), or conspiracy to distribute and to possess with intent to distribute more than five

kilograms of cocaine, not cocaine base. Therefore, Amendment 706 does not effect

defendant’s sentencing guideline range and he is not entitled to a reduction in sentence.

       Accordingly,

       Defendant’s motion for a reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2)

is DENIED [#159].

       SO ORDERED.


Dated: June 20, 2011
                                             S/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE



                                   CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record and
                    Cesar Garfio, 2240 Hubbard Road, Youngstown, OH 44501
                                                 on
                         June 20, 2011, by electronic and/or ordinary mail.
                                       s/Marcia Beauchemin
                                           Deputy Clerk




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